                        Case 4:11-cr-00135-DPM                  Document 50            Filed 04/19/12          Page 1 of 5
A0245B        (Rev. 09/11) Judgment in a Criminal Case                                                                   FILED
                                                                                                                      U.S. DISTRICT COURT
              Sheet 1                                                                                             EASTERN DISTRICT ARKANSAS

                                                                                APR 19 2012
                                           UNITED STATES DISTRICT Cou~sy~. Es w. c 0 AcK, CLERK
                                                              Eastern District of Arkansas
                                                                          )
              UNITED STATES OF AMERICA                                    )
                                   v.                                     )
                       RHODRICK GENTRY                                    )
                                                                          )      Case Number: 4: 11-cr-135-DPM-02
                                                                          )      USM Number: 26443-009
                                                                          )
                                                                          )       James Phillips
                                                                                  Defendant's Attorney
THE DEFENDANT:
!¥(pleaded guilcy to count(s)           1 of the Indictment

D pleaded nolo contendere to count(s)
   which was accepted by the court.
D was found guilty on count(s)
   after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                    Nature of Offense                                                        Offense Ended
 18 u.s.c. § 371                   Conspiracy to Commit Mail Fraud, a Class D Felony                         7/5/2011                     1




       The defendant is sentenced as provided in pages 2 through           __5_ _ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has been found not guilty on count(s)
!¥(count(s)         2 through 27                         D is      ifare dismissed on the motion of the United States.
         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material clianges in economtc circumstances.

                                                                           4/12/2012
                                                                          Date of Imposition of Judgment




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                                                                           D.P. Marshall Jr.                            U.S. District Judge
                                                                          Name and Title of Judge




                                                                          Date
                                                                                      /9     twl ,201J-
                  I
                          Case 4:11-cr-00135-DPM                Document 50            Filed 04/19/12            Page 2 of 5
AO 2458        (Rev. 09/11) Judgment in a Criminal Case
               Sheet 4-Probation
                                                                                                            Judgment-Page       2     of        5
DEFENDANT: RHODRICK GENTRY
CASE NUMBER: 4:11-cr-135-DPM-02
                                                                  PROBATION
The defendant is hereby sentenced to probation for a term of :
 FIVE YEARS, with the first 6 MONTHS to be served in home detention with electronic monitoring




The defendant shall not commit another federal, state or local crime.
 The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall suomit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court.
 fJ! The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)
         The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
                  /'

         The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

D          The defendant shall comply with the req_uirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.)
           as directed by the probatton officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
         · works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)
D        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
       If this judgment imposes a fine or restitution, it is a condition of probation that the defendant pay in accordance with the Schedule of
Payments sheet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                            STANDARD CONDITIONS OF SUPERVISION
    1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
    5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
    6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
    7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substafice or any paraphernalia related to any controlled substances, except as prescribed by a physician;
    8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
    9)     the defendant shall not associate with any Qersons engaged in criminal activity and shall not associate with any person convicted of a .
           felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall Rermit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
           contraband observed in plain view of the probation officer;
 11)       the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
 13)       as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
           record or ~ersonal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
           defendant s compliance with such notification requirement.
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AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 4A - Probation
                                                                                            Judgment-Page    3     of       5
DEFENDANT: RHODRICK GENTRY
CASE NUMBER: 4:11-cr-135-DPM-02

                                              ADDITIONAL PROBATION TERMS
 14) Gentry shall spend the first 6 months of probation in home detention with electronic monitoring. Because of the
 substantial restitution needs in this case, the Government shall bear the cost of the electronic monitoring. Gentry may
 leave home for church, work, medical appointments, and probation-related activities.

 15) Gentry shall disclose financial information upon request to the U.S. Probation Office, including loans, lines of credit,
 and tax returns. This also includes records of any business with which Gentry is associated. No new lines of credit shall
 be established without prior approval of the U.S. Probation Office until all criminal penalties have been satisfied.

 16) Gentry shall not obtain employment in a Federal Credit Union or any FDIC-insured institution.




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                     Case 4:11-cr-00135-DPM                     Document 50              Filed 04/19/12           Page 4 of 5
AO 245B   (Rev. 09/11) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties
                                                                                                           Judgment- Page _   _:_4_ of   5
DEFENDANT: RHODRICK GENTRY
CASE NUMBER: 4:11-cr-135-DPM-02
                                              CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                     Assessment                                         Fine                                    Restitution
TOTALS            $ 100.00                                            $ 0.00                                  $ 27,967.00


D The determination of restitution is deferred until - - - . An Amended Judgment in a Criminal Case (AO 245C) will be entered
     after such determination.

~ The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
    the prionty order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664lt), all nonfederal victims must be paid
    before the United States is patd.

Name of Payee                                                              Total Loss*           Restitution Ordered Priority or Percentage
 Fraud Resitution                                                               $27,967.00                  $27,967.00        100%

 GE Money Bank

 ATTN: Valerie Selby

 P.O. Box 8726

 Dayton, Ohio 45401




TOTALS                              $                    27,967.00           $ - - - - - -27,967.00
                                                                                           ----


D    Restitution amount ordered pursuant to plea agreement $

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

'!/ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
    '!/ the interest requirement is waived for the D fine '!/ restitution.
     D    the interest requirement for the           D   fine   D    restitution is modified as follows:



*Findings for the total amount oflosses are required under Chapters 109A, 110, 110A, and 113A ofTitle 18 for offenses committed on or after
September 13, 1994, but before April23, 1996.
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AO 245B    (Rev. 09/11) Judgment in a Criminal Case
           Sheet 6- Schedule of Payments
                                                                                                              Judgment- Page -~5- of                   5
DEFENDANT: RHODRICK GENTRY
CASE NUMBER: 4: 11-cr-135-DPM-02

                                                          SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

A    ri{ Lump sum payment of$ _10_0_._0_0____ due immediately, balance due
          0        not later than                                   , or
          fit in accordance              0 C,         0    D,   0     E, or     t/ F below; or
              I'
B    0    Payment to begin immediately (may be combined with                  0 C,       0 D, or       0 F below); or
C    0    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                           over a period of
                           (e.g., months or years), to commence                       (e.g., 30 or 60 days) after the date ofthis judgment; or

D    0    Payment in equal                           (e.g., weekly, monthly, quarterly) installments of $                          over a period of
                           (e.g., months or years), to commence                        (e.g., 30 or 60 days) after release from imprisonment to a
          term of supervision; or

E    0    Payment during the term of supervised release will commence within                 (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    r!/ Special instructions regarding the payment of criminal monetary penalties:
           Beginning the first month of probation, Gentry must pay at least 10% per month of his monthly gross income. No
           fine is imposed because Gentry cannot pay one and is not likely to become able to pay one, even with the use of a
           reasonable installment schedule. A fine would also unduly burden Gentry's dependents and would hinder his
           payment of the substantial restitution in this case.


Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment of criminal monetary penalties is due during
imprisonment. All cnminal monetary penalties, except those payments made through the Federal Bureau of Pnsons' Inmate Financial
Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




0    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
     and corresponding payee, if appropriate.




0    The defendant shall pay the cost of prosecution.

0    The defendant shall pay the following court cost(s):

0    The defendant shall forfeit the defendant's interest in the following property to the United States:




Payments shall be applied in the following order: (I) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
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